

ORDER

PER CURIAM:
AND NOW, this 29th day of July, 2003, upon consideration of the Certificate of Admission of Disability by Attorney that the respondent-attorney is suffering from a disabling condition which makes it impossible for him to prepare an adequate defense to disciplinary charges brought against him in connection with Disciplinary Board File No. C2-03-185, it is hereby
ORDERED that Peter P. Barnett is transferred to inactive status pursuant to Rule 301(e), Pa.R.D.E. Said transfer is effective immediately. Respondent shall comply with Rule 217, Pa.R.D.E. All pending disciplinary proceedings shall meanwhile be held in abeyance except for the perpetuation of testimony and the preservation of documentary evidence.
